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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

SAMUEL ROY ABRAM,                              )
                                               )
                                               )
               Plaintiff,                      )
                                               )       Civil Action No. 23-cv-02678 (RC)
v.                                             )
                                               )
UNITED STATES OF AMERICA,                      )
                                               )
                Defendant.                     )

                                   MEMORANDUM OPINION

       Plaintiff, Samuel Roy Abram, proceeding pro se, initiated this matter on September 12,

2023, by filing, inter alia, a Complaint (“Compl.”), ECF No. 1, and an Application for Leave to

Proceed in forma pauperis (“IFP”), ECF No. 2. Upon review, on October 3, 2023, the Court

dismissed this matter without prejudice.        See Memorandum & Order, ECF No. 5.                More

specifically, the dismissing Court found that Abram, a federal prisoner, had accumulated at least

“three strikes,” and was thus barred from proceeding IFP pursuant to 28 U.S.C. § 1915(g), and it

further found that he had not met the “imminent danger” exception. See id. at 1–2 (collecting

cases). Abram was notified that, if he still intended to proceed with this case, he must file a motion

to reopen, and concomitantly submit the full filing fee. See id. at 3.

       On October 23, 2023, Abram filed a Motion to Reopen, ECF No. 6, and a few days later,

he submitted the full filing fee applicable to civil actions in this District, see Dkt. Entry, at Filing

Fee Received (entered 10/26/23). Abram’s Motion to Reopen was granted by Minute Order on

October 30, 2023, and the matter was then assigned to this Court on the following day, see Dkt.

Entry, at Case Assigned (entered 10/31/23). Consequently, this Court may now review the

Complaint, and for the reasons explained below, it will be dismissed without prejudice.
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        As way of background, in November 2004, Abram was convicted in the United States

District Court for the Northern District of Florida of three counts of armed bank robbery, two

counts of use of a firearm during and in relation to a crime of violence, and one count of possession

of a firearm by a convicted felon. See United States v. Abram, No. 04-cr-00090-LC-MD-1, 39

(N.D. Fla. Nov. 17, 2004), at Jury Verdict, ECF No. 39. In February 2005, Abram was sentenced

to a total term of imprisonment of 648 months. See id. at Judgment, ECF No. 53.

        In his Complaint, Abram alleges that Defendant, the United States, committed various

crimes against him during the relevant criminal proceedings in the Northern District of Florida,

also in violation of his due process rights. See Compl. at 2, 4. He contends that the prosecutor

and the presiding judge, among others, conspired to issue and sell false securities that bonded that

case, in Abram’s name, with the purpose of defrauding him, see id. at 2–4, in violation of

provisions of the Securities Exchange Act of 1934, see id. at 1–2, numerous federal criminal

statutes, 18 U.S.C. §§ 1, 4, 101, 113, , 241, 513, 872, 911, 912, 1001, 1025, 1341, 1346, 1348,

1349, 1509, 1512, 1515, 1581, 1583, 1589, 1590, 1621, 1651, 1658, 1951, 1956, 1975, 2382, 2383,

2499, the Internal Revenue Code, 26 U.S.C. § 7201, and other miscellaneous authority, 28 U.S.C.

§ 2401, see id. at 4. He asserts that the securities at issue are held, under contract, by Fidelity

Investments in the “Fidelity Advisors, Small Cap B Fund[,]” with “CUSIP# 315805689[,]” and in

connection with that account, he asks this Court to order (1) “an equitable accounting[,]” (2) a

“Disgorgement of ill-gotten profits[,]” (3) an “Equitable Recission of Contract[,]” and (4) a

“recall” of the security “on deposit[.]” See id. at 2, 4.

        Abram further represents that, due to this alleged breach of “fiduciary duty[,]” he is owed

the profits of the underlying “commercial transaction[,]” see id. at 2–3, and he demands to be

compensated $48 million dollars, see id. at 4. He also demands that this Court “order case no:
                                                   2
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3:04-cr-00090-LC-MD-1 to be discharged, settled and closed.” Id. Simply put, Abram faces

hurdles here that he cannot overcome.

       First, “[a] complaint must contain sufficient factual matter, accepted as true, to ‘state a

claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A complaint that lacks “an arguable basis

either in law or in fact” is frivolous, Neitzke v. Williams, 490 U.S. 319, 325 (1989), and a

“complaint plainly abusive of the judicial process is properly typed malicious,” Crisafi v. Holland,

655 F.2d 1305, 1309 (D.C. Cir. 1981) (per curiam). Put differently, a court shall dismiss a

complaint as frivolous “when the facts alleged rise to the level of the irrational or the wholly

incredible,” Denton v. Hernandez, 504 U.S. 25, 33 (1992), or “postulat[e] events and

circumstances of a wholly fanciful kind,” Crisafi, 655 F.2d at 1307–08. The instant Complaint

falls squarely into this category. The Court finds no merit in Abram’s overbroad and dubious

conspiratorial allegations against the parties who brought about his conviction. 1




1
        The Court notes that Abram has previously, on repeated occasions, unsuccessfully raised
substantially similar allegations in cases filed in other federal jurisdictions. See, e.g., Abram v.
Mnuchin, No. 2018-cv-00752 (D. Md. filed Mar. 13, 2018), at Dismissal Order (entered June 8,
2018) (dismissing substantially similar claims for failure to state a claim), ECF No. 8; Abram v.
Fidelity Investments, No. 2017-cv-12657 (D. Mass. filed Apr. 14, 2017), at Dismissal Order
(entered Aug. 29, 2017) (dismissing substantially similar claims for want of subject matter
jurisdiction and failure to state a claim), ECF No. 32; Abram v. United States, No. 16-cv-728 (M.D.
Fla. filed Dec. 20, 2016), at Dismissal Order (entered Jan. 9, 2017) (dismissing substantially
similar claims as frivolous), ECF No. 4; Abram v. United States, No. 2016-cv-00309, at Dismissal
Order (entered June 14, 2016) (dismissing substantially similar claims for want of subject matter
jurisdiction), ECF No. 8; see also Covad Commc'ns Co. v. Bell Atl. Corp., 407 F.3d 1220, 1222
(D.C. Cir. 2005) (A court may take “judicial notice of facts on the public record”); Banks v. York,
515 F. Supp. 2d 89, 109 (D.D.C. 2007) (A court may take judicial notice of the public docket and
record).

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        Indeed, this Court cannot exercise subject matter jurisdiction over a frivolous complaint.

See Hagans v. Lavine, 415 U.S. 528, 536–37 (1974) (“Over the years, this Court has repeatedly

held that the federal courts are without power to entertain claims otherwise within their jurisdiction

if they are ‘so attenuated and unsubstantial as to be absolutely devoid of merit.’”) (quoting

Newburyport Water Co. v. Newburyport, 193 U.S. 561, 579 (1904)); Tooley v. Napolitano, 586

F.3d 1006, 1010 (D.C. Cir. 2009) (examining cases dismissed “for patent insubstantiality”).

Moreover, Abram “offers only ‘a laundry list of wrongful acts and conclusory allegations to

support h[is] theory of a conspiracy,’” and such allegations are “‘insufficient to allow the case to

go forward.’” Curran v. Holder, 626 F. Supp. 2d 30, 34 (D.D.C. 2009) (quoting Richards v. Duke

Univ., 480 F. Supp. 2d 222, 233 (D.D.C. 2007)); see Baker v. Director, U.S. Parole Comm’n, 916

F.2d 725, 727 (D.C. Cir. 1990) (per curiam) (holding that a sua sponte dismissal is appropriate for

failure to state a claim).

        The Court notes that, on November 16, 2023, Abram filed a First Notice (“Not. I”), ECF,

along with a Second Notice (“Not.), ECF No. 2, both of which contain: “Notice[s] of Deed of

Acknowledgement        and   Acceptance     Without    Consideration     and   Release[s]    Without

Consideration[,]” see Not. 1 at 2–4; 1 Not. 2 at 2–4; “Recission[s] of Signatures of Suretyship[,]”

see Not. 1 at 5; Not. 2 at 5; “Declaration[s] Re Proper Name[,]” see Not. 1 at 6; Not. 2 at 6;

“Notice[s] of Private Trust Arrangement[,]” see Not. 1 at 7; Not. 2 at 7; “Affidavit[s] of Exemption

From Withholding[,]” see Not. 1 at 8–10; Not. 2 at 8–10; “Statement[s] of Interest[,]” see Not. 1

at 11–18; Not. 2 at 11–18; “Notice[s] of Interest[,]” see Not. 1 at 19–29; Not. 2 at 19–25; Not. 2

Attachment, ECF No. 8-1, at 1, and; “Affidavit[s] of Status of Samuel Roy Abram, American


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      The Court references the ECF-generated pages in citing to Abram’s Notices and its
Attachments.
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Freeman[,]” see Not. 1 Attachment, ECF No. 7-1, at 1–12; Not. 2 Attachment at 2–9. These

Notices, and their attachments, were intended to supplement the Complaint. See Not. 1 at 1; Not.

2 at 1. However, these Notices only compound the frivolousness of Abram’s claims because the

attached documents are “associated with what is known as the sovereign citizen movement[,]”

undermining any slight benefit of the doubt that Abram may been afforded. See Abram v. United

States, No. 2017-cv-00781, 2017 WL 6106389, at *2 (N.D. Fla. Nov. 22, 2017) (dismissing

Abram’s substantially similar claims with prejudice as frivolous without leave to amend) (citing

Gravatt v. United States, 100 Fed. Cl. 279, 282 (Fed. Cl. 2011) (dismissing with prejudice and

describing the sovereign citizen movement and noting that “[s]o-called sovereign citizens believe

that they are not subject to government authority and employ various tactics in an attempt to,

among other things, avoid paying taxes, extinguish debts, and derail criminal proceedings”)), R&R

adopted, 2017 WL 6096672 at *1 (N.D. Fla. Dec. 7, 2017).

       Second, even if Abram’s claims were plausible, which this Court does not concede, Abram

still does not, and often, fundamentally cannot, bring a cause of action under any of the authority

upon which he relies. There is simply no express private right to action under the criminal statutes

cited in the Complaint. See Compl. at 4; see also North v. Smarsh, Inc., 160 F. Supp. 3d 63, 77

(D.D.C. 2015) (citing RJ Prod. Co. v. Nestle USA, Inc., No. 10–0584, 2010 WL 1506914, at *2

n.1 (D.D.C. Apr. 15, 2010) (holding that because criminal statutes under Chapter 18 of the United

States Code “do not provide for private causes of action, they cannot be used to grant plaintiff

access to federal courts”)); Peavey v. Holder, 657 F. Supp. 2d 180, 190–91 (D.D.C. 2009) (stating

that no private right of action exists to enforce the federal criminal code)), aff’d, No. 09–5389,

2010 WL 3155823 (D.C. Cir. Aug. 9, 2010); Prunte v. Universal Music Group, 484 F. Supp. 2d

32, 42 (D.D.C. 2007) (“[The] Supreme Court has refused to imply a private right of action in a
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bare criminal statute.”) (citation and internal quotation marks omitted); Rockefeller v. U.S. Court

of Appeals Office, for Tenth Circuit Judges, 248 F. Supp. 2d 17, 23 (D.D.C. 2003) (holding that

federal criminal statutes do not convey a private right of action) (collecting cases).

       Similarly, 26 U.S.C. § 7201, see Compl. at 4, “is a criminal provision of the Internal

Revenue Code that prescribes penalties for attempting to evade or defeat taxes[,]” El v. Wells

Fargo Bank, No. 19-cv-02538, 2020 WL 1941322, at *3 (W.D. Tenn. Mar. 12, 2020), R&R

adopted, 2020 WL 1686252, (W.D. Tenn. Apr. 7, 2020). “Under 26 United States Code Section

7401, ‘[n]o civil action for the recovery of taxes, or of any fine, penalty, or forfeiture shall be

commenced unless the Secretary authorizes or sanctions the proceedings and the Attorney General

or his delegate directs that the action be commenced[,]’” id. (quoting 26 U.S.C. § 7201), and it

does not provide a private right of action, see id. (citing Woermer v. Hirsh, No. 18-cv-01898, 2018

WL 7572237, at *4 (D. Conn. Dec. 11, 2018) (“This statute does not create a private right of action.

Thus, any claims brought under § 7201 must be ‘dismissed for failure to state a claim upon which

relief may be granted because there is no private right of action to recover taxes on behalf of the

government.’”); Payn v. Kelley, No. CIV-15-1089-D, 2015 WL 7779701, at *3 (W.D. Okla. Dec.

2, 2015) (noting that § 7201 does not permit a private right of action); Gipson v. Deutsche Bank

Nat. Trust Co., No. 13-cv-4820-L, 2015 WL 11120538, at *20 (N.D. Tex. Oct. 27, 2015) (same);

McRae v. Norton, No. 12-cv-1537, 2012 WL 1268295, at *4 (E.D.N.Y. Apr. 13, 2012) (concluding

that that no private right of action exists under § 7201)); see also Karupaiyan v. Wipro, No. 23-

2005, 2023 WL 4896672, at *3 (D.N.J. July 21, 2023) (finding that “Sections 7201, 7203, and

7206 of the Internal Revenue Code also do not grant a private right of action. Private civil actions

for recovery of taxes are not permitted without special authorization from the Executive

Branch[.]”) (citations omitted); Anderson v. Pollard, No. 18-cv-00582, 2019 WL 10813621, at *3
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(N.D. Okla. Apr. 8, 2019) (finding that tax evasion is a federal crime against the United States and

does not provide a private cause of action), aff’d, 775 Fed. Appx. 967 (10th Cir. 2019).

        As for the Securities Exchange Act, Abram cites erroneously to 15 U.S.C. §§ 780, 781, see

Compl. at 2, as those provisions of the United States Code govern the right to petition the

Administrator of the Federal Energy Administration for redress, and the Administrator’s

obligations in drafting and reporting a comprehensive energy plan to Congress and the President.

Abram’s allegations bear no connection to these statutes. While profoundly unclear, see Johnson

v. Robinson, 576 F.3d 522, 522 (D.C. Cir. 2009) (per curiam) (“[t]he mere suggestion of a federal

question is not sufficient to establish the jurisdiction of federal courts,” rather, a federal question

“must affirmatively appear clearly and distinctly.”) (cleaned up) (quoting Bilal v. Kaplan, 904 F.2d

14, 15 (8th Cir. 1990) (per curiam)); see also Dozier v. Ford Motor Co., 702 F.2d 1189, 1194

(D.C. Cir. 1983) (“While . . . a pro se litigant must of course be given fair and equal treatment, he

cannot generally be permitted to shift the burden of litigating his case to the courts[.]”), it appears

that Abram perhaps intended to cite to 15 U.S.C. §§ 780 (“Section 15”) and § 78l (“Section 12”),

which memorialize requirements regarding the registration and regulation of brokers, dealers, and

securities.

        Generously assuming arguendo that Abram intended to cite to Sections 12 and 15 of the

Exchange Act, his allegations do not set forth which subsections, if any, were allegedly violated,

making it impossible for the United States to defend this case, or for this Court to perceive a

cognizable claim. See Gervais v. Amer. Exp. Centurion Bank, No. 10-cv-1712, 2010 WL 4929077,

at *1 (S.D. Cal. Nov. 30, 2012) (dismissing with prejudice Exchange Act claims that were

“chockablock with vague and conclusory allegations” for failure to state a claim) (citing Sheldon

v. Vermonty, 246 F.3d 682, 2000 WL 1774038, at *5 (10th Cir. Dec. 4, 2000) (“The Complaint
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does not provide sufficient allegations to demonstrate which of these provisions [of the Exchange

Act], if any, apply to any of the defendants.”)). Furthermore, as presented, Abram has neither

established his standing to bring such an action, nor met the heightened pleading requirement for

fraud-related Exchange Act claims. See Brittain v. Alcitepe, 934 F. Supp. 2d 119, 126–27 (D.D.C.

2013).

         Abram concludes with a citation to 28 U.S.C. § 2401, see Compl. at 4, which sets forth

statutes of limitations applicable to claims brought against the United States. Section 2401 does

not, in and of itself, provide a means to set forth a claim, nor does it provide its own basis for

federal jurisdiction. See generally 28 U.S.C. § 2401. Therefore, Abram has failed to plausibly

cite to any authority under which he may bring his claims.

         Third, Abram alleges that the United States owes him money derived from a securities

contract purportedly taken in his name. See Compl. at 2–4. Although Congress limitedly waived

sovereign immunity with regard to “any claim against the United States . . . upon any express or

implied contract with the United States[,]” 28 U.S.C. § 1491(a)(1), “the Tucker Act states that

‘[t]he United States Court of Federal Claims shall have jurisdiction to render judgment upon any

[such] claim[,]’” Coulibaly v. Kerry, 213 F. Supp. 3d 93, 127 (D.D.C. 2016) (quoting 28 U.S.C. §

1491(a)(1)) (emphasis in original). “If a claimant does not limit the damages sought to an amount

at or below $10,000, then the jurisdiction of the Court of Federal Claims is exclusive.” Id. (citing

Greenhill v. Spellings, 482 F.3d 569, 573 (D.C. Cir. 2007) (“If [Plaintiff] explicitly or in essence

seeks money damages in excess of $10,000, jurisdiction rests exclusively with the Court of Federal

Claims.”)); see also 28 U.S.C. § 1346(a)(2) (stating that the United States district courts exercise

concurrent jurisdiction over “[a]ny . . . claim against the United States, not exceeding $10,000 in


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amount, founded . . . upon any express or implied contract with the United States.”). Here, Abram

seeks $48 million, see Compl. at 4, well beyond the $10,000 jurisdictional limit.

       Fourth, in the Complaint’s introduction, Abram makes passing reference to an

“Administrative Tort Claim[,]” see Compl. at 1, but then fails to further elaborate. It is unclear if

Abram intended to invoke the Federal Tort Claims Act (“FTCA”), 28 U.S.C. § 1346 et seq., but

the Court notes that the FTCA limitedly waives the United States’ immunity as to certain common

law torts, see id. §§ 1346(b)(1), 2679(b). Notably, however, “[a]lthough the FTCA generally

waives the government’s sovereign immunity, there are several exceptions[,]” Williams v. Wilkie,

320 F. Supp. 3d 191, 198 (D.D.C. 2018), appeal dismissed, No. 18-5272, 2019 WL 1150043 (D.C.

Cir. Jan. 9, 2019), more than one of which apply to Abram’s claims. More specifically, the FTCA

does not waive the sovereign immunity of United States for constitutional claims. See FDIC v.

Meyer, 510 U.S. 471, 477–78 (1994); Clark v. Lib. Of Congress, 750 F.2d 89, 102–04 (D.C. Cir.

1984); see also 28 U.S.C. §§ 1346(b)(1), 2679(b). Additionally, the FTCA expressly “exempts

fraud and misrepresentation from the general waiver of sovereign immunity[,]” Maxberry v. Dep't

of the Army, Bd. of Correction of Military Records, 952 F. Supp. 2d 48, 52 (D.D.C. 2013) (citing

28 U.S.C. § 2680(h); Stoyanov v. Winter, 643 F. Supp. 2d 4, 10–11 (D.D.C. 2009)), as well as

claims arising out of alleged “. . . abuse of process, . . . deceit, or interference with contract

rights[,]” and other similar intentional torts, see Williams, 320 F. Supp. 3d at 198 (quoting 28

U.S.C. § 2680(h)) (internal quotation marks omitted). Accordingly, to whatever extent Abram

intended to raise an FTCA claim, it cannot survive dismissal.

       Fifth, Abram asks this Court to intervene and take specific actions on his behalf in Abram,

No. 04-cr-00090-LC-MD-1. However, this Court lacks subject matter jurisdiction to review the

decisions of other federal courts, to interfere with their cases or administrative matters, or to direct
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them to act. See In re Marin, 956 F.2d 339, 340 (D.C. Cir. 1992) (per curiam), cert. denied sub

nom. Marin v. Suter, 506 U.S. 844 (1992); Panko v. Rodak, 606 F. 2d 168, 171 n.6 (7th Cir. 1979)

(finding it “axiomatic” that a federal court may order judges or officers of another federal court

“to take an action.”), cert. denied, 444 U.S. 1081 (1980); United States v. Choi, 818 F. Supp. 2d

79, 85 (D.D.C. 2011) (stating that federal district courts “generally lack[] appellate jurisdiction

over other judicial bodies, and cannot exercise appellate mandamus over other courts”) (citing

Lewis v. Green, 629 F. Supp. 546, 553 (D.D.C. 1986)); Fleming v. United States, 847 F. Supp.

170, 172 (D.D.C. 1994) (citing District of Columbia Court of Appeals v. Feldman, 460 U.S. 462,

482 (1983); Rooker v. Fidelity Trust Co., 263 U.S. 413, 415, 416 (1923)), aff’d, No. 94-5079, 1994

WL 474995 (D.C. Cir. July 27, 1994), cert. denied, 513 U.S. 1150 (1995).

       Finally, to that same end, Abram challenges his previous criminal proceedings, and asks

this Court to, in essence, vacate his criminal conviction and sentence, see Compl. at 2, 4, but once

again, this Court lacks the authority to grant the relief sought. To the extent that a remedy is

available to Abram, his claims must be addressed with the sentencing court through a petition for

writ of habeas corpus. See Taylor v. U.S. Bd. of Parole, 194 F.2d 882, 883 (D.C. Cir. 1952) (per

curiam); Ojo v. Immigration & Naturalization Serv., 106 F.3d 680, 683 (5th Cir. 1997). Section

2255 provides that:

               [a] prisoner in custody under sentence of a court established by Act
               of Congress claiming the right to be released upon the ground that
               the sentence was imposed in violation of the Constitution or laws of
               the United States, or that the court was without jurisdiction to
               impose such sentence, or that the sentence was in excess of the
               maximum authorized by law, or is otherwise subject to collateral
               attack, may move the court which imposed the sentence to vacate,
               set aside or correct the sentence.



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28 U.S.C. § 2255(a). Given these clear jurisdictional parameters, Abram must file for such relief

in the Northern District of Florida. See id.

       For all of these reasons, the Complaint, and this case, are dismissed without prejudice. A

separate Order accompanies this Memorandum Opinion.

       Date: December 26, 2023                      ___________/s/____________
                                                      RUDOLPH CONTRERAS
                                                     United States District Judge




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